United States District Court
Northern District of California

 

 

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UNITED STATES DISTRICT COURT N25 2022

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NORTHERN DISTRICT OF CALIFORNIA NORTH Digs DISTRICT
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United States of America, Case No. 3:21-CR-0155-JD

Plaintiff(s),
APPLICATION FOR ADMISSION OF
Ms ATTORNEY PRO HAC VICE
(CIVIL LOCAL RULE 11-3)
Carlos E. Kepke,

 

 

 

 

Defendant(s).
|, Mark Filip, P.C. , an active member in good standing of the bar of
Illinois , hereby respectfully apply for admission to practice pro hac
vice in the Northern District of California representing: Robert F. Smith in the
above-entitled action. My local co-counsel in this case is Christopher W. Keegan ,an

 

attorney who is a member of the bar of this Court in good standing and who maintains an office

within the State of California. Local co-counsel’s bar number is: 232045 .

 

 

 

 

 

 

Kirkland & Ellis LLP Kirkland & Ellis LLP

300 N. LaSalle 555 California Street, 27th Floor
Chicago, IL 60654 San Francisco, CA 94104

MY ADDRESS OF RECORD LOCAL CO-COUNSEL’S ADDRESS OF RECORD
(312) 862-2192 (415) 439-1882

MY TELEPHONE # OF RECORD LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
mark. filip@kirkland.com chris.keegan@kirkland.com

MY EMAIL ADDRESS OF RECORD LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

| am an active member in good standing of a United States Court or of the highest court of
another State or the District of Columbia, as indicated above; my bar number is: 6226541

A true and correct copy of a certificate of good standing or equivalent official document
from said bar is attached to this application.

[ have been granted pro hac vice admission by the Court 0 times in the 12 months

preceding this application.

 
United States District Court
Northern District of California

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[ agree to familiarize myself with, and abide by, the Local Rules of this Court, especially
the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local
Rules. | declare under penalty of perjury that the foregoing is true and correct.

Dated: November 23, 2022 Mark Filip, P.C.
APPLICANT

 

 

 

 

 

 

ORDER GRANTING APPLICATION
FOR ADMISSION OF ATTORNEY PRO HAC VICE

IT IS HEREBY ORDERED THAT the application of Mark Filip, P.C. is
granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-
counsel designated in the application will constitute notice to the party.

Dated:

 

 

UNITED STATES DISTRICT/MAGISTRATE JUDGE

Updated 11/2021 2

 
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Attorney Registration and Disciplinary Commission
of the
Supreme Court of Illinois
www.iarde.org

 

1300 _ Suite 301
Chicago, IL 60601-6219 gab buingfield, H 62704
(312) 365-2600 (800} 826-8625 (217) 322-6838 (800) 252-8048
Fax (312) 565-2320 Fan @17) 32-2807

Chicago
11/10/2022

Re: Mark Robert Filip
Attorney No. 6226341

To Whom It May Concern:

The records of the Clerk of the Supreme Court of Illinois and this office reflect that Mark
Robert Filip was admitted to practice law in Illinois on 2/7/1995; is currently registered on
the master roll of attorneys entitled to practice law in this state; has never been disciplined
and is in good standing.

Very truly yours,
Jerome Larkin
Administrator

0.
By: =

Andrew Oliva
Registrar

 
